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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )                     8:16CR62
                          Plaintiff,                    )
                                                        )
        vs.                                             )                       ORDER
                                                        )
JASON HIBBS,                                            )
                                                        )
                          Defendant.                    )

        This matter is before the court on the motion for an extension of time by defendant Jason Hibbs (Hibbs)
(Filing No. 60). Hibbs seeks an additional thirty days in which to file pretrial motions in accordance with the
progression order. Hibbs has filed an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No. 61).
Hibbs's counsel represents that government's counsel has no objection to the motion. Upon consideration, the
motion will be granted.


        IT IS ORDERED:

        Defendant Hibbs's motion for an extension of time (Filing No. 60) is granted. Hibbs is given until on or

before June 20, 2016, in which to file pretrial motions pursuant to the progression order. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between May

19, 2016, and June 20, 2016, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 19th day of May, 2016.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
